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                           UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF PENNSYLVANIA

TERRANCE MCCALL,                            :     CIVIL ACTION NO. 3:19-2052
                            Plaintiff
                                            :           (Judge Mannion)
                     v.
                                            :
CARBON SCHUYLKILL
COMMUNITY HOSPITAL, INC., d/b/a :
ST. LUKE’S UNIVERSITY HEALTH
NETWORK,                        :
                  Defendant
                              ORDER


         In accordance with the memorandum issued this same day, IT IS HEREBY

ORDERED THAT Defendant’s motion to dismiss plaintiff’s amended complaint

(Doc. 13) is hereby DENIED.


                                                  s/Malachy E. Mannion
                                                  MALACHY E. MANNION
                                                  United States District Judge
Date: September 2, 2020
19-2052-01 order
